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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA

v.                                             CRIMINAL NO. 1:14CR44-LG-RHW-1

LAKEITH DENTRELL SMITH

              ORDER DENYING DEFENDANT’S MOTION TO SEVER

       BEFORE THE COURT is the [118] Motion to Sever filed by Defendant

LaKeith Smith. Defendant Smith was indicted, along with seven (7) other co-

defendants, on charges of stealing and selling firearms in violation of 18 U.S.C. §

922 and 18 U.S.C. § 924. Smith moves to sever his trial from the proceedings

against his co-defendants pursuant to Federal Rule of Criminal Procedure 14. The

Court finds that the Motion to Sever is not well taken and should be denied.

       Smith argues that he “will suffer irreparable prejudice” at trial in the event

that any of his co-defendants exercise their Fifth Amendment right to remain silent,

thereby preventing Smith from cross-examining them. (Mot. to Sever 1, ECF No.

118). He claims that a joint trial with his co-defendants could compromise his right

to present exculpatory evidence. Specifically, he asserts that he cannot compel any

co-defendant to testify at trial, and therefore, “there is a serious risk that the jury

would not hear exculpatory evidence,” of which there is “no other known source.”

(Id. at 2).

       Federal Rule of Criminal Procedure 14 provides in pertinent part that “[i]f

the joinder of . . . defendants in an indictment . . . or a consolidation for trial
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appears to prejudice a defendant or the government, the court may . . . sever the

defendants’ trials[.] FED. R. CRIM. P. 14(a). The decision whether to grant a motion

for separate trials is ultimately within the discretion of the district court. See

United States v. Neal, 27 F.3d 1035, 1046 (5th Cir. 1995) (citing United States v.

Zafiro, 506 U.S. 534, 539 (1993)). The Supreme Court and the United States Court

of Appeals for the Fifth Circuit have held that “if defendants have been properly

joined, the district court should grant a severance only if there is a serious risk that

a joint trial would compromise a specific trial right of one of the defendants or

prevent the jury from making a reliable determination of guilt or innocence.”

Zafiro, 506 U.S. at 539; United States v. Cihak, 137 F.3d 252, 259 (5th Cir. 1998)

(citation omitted).

      To determine whether the defendant has shown “specific and compelling

prejudice,” the court should consider whether the prejudice outweighs the interest

in judicial economy. United States v. Krenning, 93 F.3d 1257, 1267 (5th Cir. 1996);

United States v. Cuesta, 597 F.2d 903, 919 (5th Cir. 1979). Additionally, rather

than grant a severance, a district court may protect the defendant from potential

prejudice by instructing the jury to limit evidence to the appropriate defendant, and

the jury is presumed to follow such instructions. Zafiro, 506 U.S. at 540-41 (citing

Richardson v. Marsh, 481 U.S. 200, 210-211 (1987)); Cihak, 137 F.3d at 259 (citing

United States v. Rocha, 916 F.2d 219, 229 (5th Cir. 1990)); Krenning, 93 F.3d at

1267; U.S. v. Mitchell, 31 F.3d 271, 276 (5th Cir. 1994).



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      Defendant Smith has not shown that there is a “serious risk” that a joint trial

would compromise one of his specific trial rights, or that the jury will be prevented

from determining his guilt or innocence if he is tried with his co-defendants. Smith

only makes a nebulous argument, unsupported by affidavit or any specific

information, that there is a risk that the jury will not hear exculpatory evidence if

he is not permitted to cross-examine his co-defendants. The Fifth Circuit has held,

with respect to a request for severance based on the need for a co-defendant’s

testimony:

             A movant seeking severance must demonstrate: 1) a bona
             fide need for the testimony, 2) the substance of the
             desired testimony, 3) its exculpatory nature and effect,
             and 4) the willingness of the co-defendant to testify at a
             separate trial. After such a showing, the court must
             consider: 1) the significance of the alleged exculpatory
             testimony in relation to the defendant's theory of defense,
             2) the extent to which the defendant might be prejudiced
             by the absence of the testimony, 3) judicial administration
             and economy, and 4) the timeliness of the motion.

United States v. Ramirez, 954 F.2d 1035, 1037 (5th Cir. 1992) (internal citations

omitted).

                                   CONCLUSION

      Here, Smith makes no reference to what the “exculpatory evidence” to be

provided by his co-defendants’ testimony would consist of or why it would be

exculpatory in nature or effect. Smith has failed to make any representation about

whether his co-defendants would in fact provide such testimony in a separate trial.

Thus, the Court concludes that defendant’s vague assertions of impending


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“exculpatory testimony” are based in conjecture rather than fact. Additionally, in

the absence of any details concerning the substance of the co-defendant testimony,

Smith has failed to demonstrate a bona fide need for the testimony, and failed to

make any specific showing of prejudice. The Motion to Sever is denied.

      IT IS THEREFORE ORDERED AND ADJUDGED that the [118] Motion

to Sever filed by Defendant LaKeith Smith is DENIED.

      SO ORDERED AND ADJUDGED this the 19th day of September, 2014.



                                               s/   Louis Guirola, Jr.
                                               LOUIS GUIROLA, JR.
                                               CHIEF U.S. DISTRICT JUDGE




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